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 8

 9                                  UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA

11                                        OAKLAND DIVISION

12

13   IMPINJ, INC.,                                        Case No. 4:19-CV-03161-YGR

14                     Plaintiff,                         NXP USA, INC.’S ELEMENTS OF
                                                          PROOF
15          v.

16   NXP USA, INC.,

17                     Defendant.

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                                                                                ELEMENTS OF PROOF
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 1          Pursuant to Section 2(a)(i) of the Court’s Standing Order Re: Pretrial Instructions in Civil

 2   Cases (updated December 21, 2023), NXP USA, Inc. hereby submits the following statement of

 3   elements of proof for its defenses and counterclaims, including summaries of the evidence

 4   anticipated to prove them.

 5                  1.      Invalidity of U.S. Patent No. 9,633,302.
 6
            NXP asserts as both a defense and as a counterclaim for declaratory judgment of
 7
     invalidity that claims 1, 3, 4, and 7 of the ’302 patent are invalid in view of the prior art. NXP
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     bears the burden of proving invalidity. To prove that claims 1, 3, 4, and 7 of the ’302 patent are
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     invalid, NXP must show that (1) a single prior art reference includes each and every limitation of
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     each of claims 1, 3, 4, and 7, either expressly or inherently, see, e.g., Trintec Indus., Inc. v. Top-
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     U.S.A. Corp., 295 F.3d 1292, 1295 (Fed. Cir. 2002) (“A single prior art reference anticipates a
12
     patent claim if it expressly or inherently describes each and every limitation set forth in the patent
13
     claim.”), or (2) the invention of claims 1, 3, 4, and 7 would have been obvious to a person of
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     ordinary skill in the art in view of a single prior art reference or combination of prior art
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     references, 35 U.S.C. § 103; see also KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398 (2007); Graham
16
     v. John Deere Co., 383 U.S. 1 (1966); U.S.D.C. N.D. Cal. Model Patent Jury Instructions,
17
     Instruction B.4, 4.3b (Alternative 2).
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            NXP asserts that claims 1, 3, 4, and 7 of the ’302 patent are anticipated by or are obvious
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     in view of U.S. Patent No. 7,578,053 (“Nishigawa”) alone or in combination with prior art
20
     reference U.S. Patent No. 6,246,327 (“Eberhardt”). NXP also asserts that the invention of claims
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     1, 3, 4, and 7 of the ’302 patent would have been obvious in view of prior art reference Eberhardt,
22
     in combination with U.S. Patent No. 6,184,581 (“Cornell”), U.S. Patent Application Publication
23
     No. 2011/0139501 (“Ching-san”), and/or “TOWARDS A BETTER UNDERSTANDING OF UNDERFILL
24
     ENCAPSULATION FOR FLIP CHIP TECHNOLOGY: PROPOSED DEVELOPMENTS FOR THE FUTURE,” Ken
25
     Gilleo, et al., Microelectronics International (1999) (“Gilleo”).
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            Claim 1: To demonstrate that claim 1 of the ’302 patent is anticipated by Nishigawa, or
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     is obvious in view of Nishigawa alone or in combination with Eberhardt, or is obvious in view of
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 1   Eberhardt in combination with Cornell, Ching-san, and/or Gilleo, NXP must show that the prior

 2   art references include or render obvious the following limitations:

 3             i.   [1-pre] A Radio Frequency Identification (RFID) integrated circuit (IC)

 4                  comprising:

 5            ii.   [1-a] an IC substrate;

 6           iii.   [1-b] a first antenna contact disposed on, and confined within a perimeter of, a

 7                  surface of the IC substrate; and

 8           iv.    [1-c] a second antenna contact disposed on, and confined within the perimeter of,

 9                  the surface of the IC substrate; wherein:

10            v.    [1-d] the first and second antenna contacts are separated by a channel having a first

11                  end, a second end opposite the first end, and a center between the first end and the

12                  second end;

13           vi.    [1-e] the channel spans a majority of a width of the IC substrate;

14           vii.   [1-f] a first transverse channel cross-section at the first end is substantially the

15                  same size as a second transverse channel cross-section at the second end and

16                  substantially larger than a third transverse channel cross-section at the center; and

17          viii.   [1-g] the channel is shaped to facilitate a fluid flow from the center to the first and

18                  second ends.

19          Claim 3: To demonstrate that claim 3 of the ’302 patent is anticipated by Nishigawa, or

20   is obvious in view of Nishigawa alone or in combination with Eberhardt, or is obvious in view of

21   Eberhardt in combination with Cornell, Ching-san, and/or Gilleo, NXP must show that the prior

22   art references include or render obvious the following limitations:

23             i.   The RFID IC of claim 1, wherein the channel has a non-convex shape.

24          Claim 4: To demonstrate that claim 4 of the ’302 patent is anticipated by Nishigawa, or

25   is obvious in view of Nishigawa alone or in combination with Eberhardt, or is obvious in view of

26   Eberhardt in combination with Cornell, Ching-san, and Gilleo, NXP must show that the prior art

27   references include or render obvious the following limitations:

28             i.   The RFID IC of claim 1, wherein the channel is substantially symmetric about at

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 1                   least one plane orthogonal to the surface of the IC substrate.

 2          Claim 7: To demonstrate that claim 7 of the ’302 patent is anticipated by Nishigawa, or

 3   is obvious in view of Nishigawa alone or in combination with Eberhardt, or is obvious in view of

 4   Eberhardt in combination with Cornell, Ching-san, and Gilleo, NXP must show that the prior art

 5   references include or render obvious the following limitations:

 6              i.   [3-pre] The RFID IC of claim 1, wherein each of the antenna contacts includes:

 7            ii.    [3-a] a raised nonconductive structure; and

 8            iii.   [3-b] a conductive layer disposed on the raised nonconductive structure.

 9          Motivation to Combine References. To the extent NXP contends the inventions of

10   claims 1, 3, 4, and 7 of the ’302 patent would have been obvious in view of the combination of

11   Nishigawa and Eberhardt, or Eberhardt and Cornell, Ching-san, and/or Gilleo, NXP also must

12   show there would have been some motivation for a person of ordinary skill in the art to combine

13   the references to arrive at the inventions of claims 1, 3, 4, and 7.

14          To prove invalidity of claims 1, 3, 4, and 7 of the ’302 patent, NXP may rely on the

15   testimony of Dr. Vivek Subramanian; cross-examination testimony of Dr. Scott Thompson; the

16   disclosures of the ’302 patent, Eberhardt, Cornell, Ching-san, Gilleo, Nishigawa, and other prior

17   art references reflecting the state of the art as of the effective filing date. NXP may also rely on

18   relying on rebuttal testimony (of already disclosed witnesses), the scope of which will be

19   determined by Impinj’s response.

20                   2.     No Injunctive Relief.
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            Impinj bears the burden of proving entitlement to injunctive relief, and NXP does not bear
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     any burden of proving that Impinj is not entitled to injunctive relief. To obtain injunctive relief,
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     Impinj must show that (1) it has suffered irreparable injury; (2) legal remedies, such as money
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     damages, are inadequate compensation for the injury; (3) the balance of hardships between the
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     patentee and the infringer indicates that an equitable remedy is warranted; and (4) the public
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     interest would not be harmed by the award of an injunction. See eBay v. MercExchange, L.L.C.,
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     547 U.S. 388 (2006). To prove irreparable injury, Impinj must prove a “causal nexus” between
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 1   the alleged harm and the alleged infringement, meaning that the patented features actually impact

 2   consumers’ decisions to purchase the accused products. Apple Inc. v. Samsung Elecs. Co., 809

 3   F.3d 633, 639 (Fed. Cir. 2016). Because Impinj bears the burden of proving entitlement to

 4   injunctive relief, NXP will prevail on its defense of no injunctive relief by showing that Impinj

 5   has failed to prove any one of the required elements. NXP notes that injunctive relief is an

 6   equitable remedy, and thus, evidence solely directed to Impinj’s claim for an injunction should

 7   not be presented to the jury.

 8          To show that Impinj has not met its burden with respect to injunctive relief, NXP may rely

 9   on testimony of NXP witnesses, which may include Kurt Bischof, Lee Chastain, Ralf Kodritsch,

10   Hermann Zach, Nigel Stott, Christian Zenz, Franz Amtmann, Roland Brandl, Ray Henling, Sai

11   Rajen and David Haas; cross-examination testimony of Impinj’s witnesses, which may include

12   Christopher Diorio, Ronald Oliver, Jeffrey Dossett, and Drew Dannels; documentation

13   concerning the design and marketing of the accused NXP products; documentation reflecting

14   trends in and the state of the RFID IC market, competition, and the parties’ respective

15   performances; documentation concerning the parties’ sales figures.

16                  3.      No Attorneys’ Fees.
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            Impinj bears the burden of proving that attorneys’ fees pursuant to 35 U.S.C. § 285 are
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     available as a potential remedy in this case, and NXP does not bear any burden of proving that
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     attorneys’ fees are not available. To show that attorneys’ fees are available as a potential remedy,
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     Impinj must prove that this is an exceptional case. 35 U.S.C. § 285. Because Impinj bears the
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     burden of proving availability of attorneys’ fees, NXP will prevail on its defense of no injunctive
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     relief by showing that Impinj has failed to prove that this case is exceptional.
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            To show that Impinj has not met its burden with respect to attorneys’ fees, NXP may rely
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     on testimony of NXP’s and Impinj’s fact and expert witnesses; the disclosures of the asserted
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     patents and prior art references; documents concerning the design, function, and marketing of the
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     accused NXP products; correspondence between the parties; and other filings and submission to
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     the Court.
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 1   Dated: January 26, 2024            JONES DAY

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